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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AIDS VACCINE ADVOCACY
COALITION, et al.,

Plaintiffs, Civil Action No. 25-cv-400

Vv.

UNITED STATES DEPARTMENT
OF STATE, et al.,

Defendants.

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DECLARATION OF ANDREW SULLIVAN

I, Andrew Sullivan, declare the following under penalties of perjury:

1. I am over 18 years of age and competent to give this declaration. This
declaration is based on my personal knowledge, information, and belief.

2. I am the co-founder and publisher of the Journalism Development
Network (JDN), a Baltimore, Maryland based non-profit. JDN is one of the largest
investigative journalism organizations in the world. It publishes as the Organized
Crime and Corruption Reporting Project (OCCRP).

3. JDN is a mission-driven newsroom that partners with other media
outlets to publish stories that lead to real-world action. JDN reports on topics that
few other news organizations cover in depth, including how crime and corruption are
fueling the crises of our time: war, climate change, inequality, and threats to

democracy.
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A. At the same time, our media development arm helps investigative
outlets around the world succeed and serve the public. Through this work, JDN helps
build and sustain news organizations by providing journalists in our global network
with critical services such as access to reporting partners, investigative technology
and data, robust editing and fact-checking, digital and physical security support,
protection against legal harassment. Our reporting partners share data, expertise,
and local knowledge—which, in turn, strengthens the entire network, helping us
uncover more crime and corruption.

5. JDN has received a great deal of recognition for its work. In 2024 alone,
JDN received EPPY Awards for excellence in digital journalism, the Inter-American
Press Association’s In-Depth Journalism Award for our project on Latin American
organized crime, and a DIG Award for our joint investigation with BBC Eye that
uncovered links between the multi-billion dollar Captagon drug trade and senior
members of President Bashar al-Assad’s family, as well as several other awards for
our individual journalists and media partners. In 2023, JDN was nominated for a
Nobel Peace Price for our work contributing to peace by unmasking political
corruption and organized crime.

6. State Department and USAID grants constitute 38% of JDN’s budget.

7. USAID’s grant enabled JDN to launch the Strengthening Transparency
and Accountability Through Investigative Reporting (STAIR) program. Through that
program, JDN supported collaborative investigative journalism networks in Europe

and Eurasia. When USAID initially announced the grant, it issued a press release
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describing the importance of the program, stating:

Investigative journalism is an essential element in addressing the endemic
corruption that continues to act as a barrier to the economic and democratic
aspirations of the citizens of Europe and Eurasia. Over the past decade,
increased awareness of crime and corruption have helped unite citizens
across ethnic, age, and geographic divides who seek greater accountability
and transparency from political and financial elites.

Investigative journalists, often at great risk to themselves, invest months
and sometimes years to conduct complex, transnational investigations that
expose how the powerful manipulate financial, regulatory, and legal
systems to enrich themselves, corrode democratic institutions, and open the
door to foreign manipulation of economies and political processes.
Investigative journalism requires a substantial investment of time, effort,
and financial resources beyond the reach of most news organizations, many
of which already struggle to turn a profit.

USAID’s support, through STAIR, aims to make that investment
financially viable, enable cross-border collaboration, and ensure journalists
have the tools they need to protect themselves from retaliation. !
8. Without USAID funding, STAIR cannot continue at its current capacity.
We will be forced to make severe cuts to our programming across the world.
9. State Department grants helped JDN launch and sustain the Global
Anti-Corruption Consortium (GACC). GACC accelerates the fight against corruption
by connecting hard-hitting investigative journalism to skillful civil society advocacy.

Its work has demonstrable impact: In 2022 and 2023, GACC’s work contributed to 26

official investigations into corruption, sanction violations, environmental crimes,

1 The USAID.gov website is no longer functional. However, a copy of the press
release is available through the Internet Archive at
https://web.archive.org/web/20241108225737/https://www.usaid.gov/news-
information/press-releases/nov-02-2022-usaid-launches-new-program-bolster-

investigative-journalism-europe-eurasia.

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election interference, and other wrongdoing and led to 89 official government actions,
including policy changes, legislative actions, and sanctions.

10. The abrupt freeze of GACC grant funding has impeded JDN’s work, by
eliminating a critical tool in exposing global organized crime and corruption.

11. State Department grants also support our work building capacity and
support for journalists doing essential anti-corruption reporting in places like
Cambodia, Cyprus, Malta, the Pacific Islands, Paraguay, and Russia. Without State
Department funding, JDN cannot continue to serve all of these locations. Mature
programs in the Pacific, Latin America, Europe and Asia have been ended and most
staff laid off. JDN has significant new holes in its global network making it difficult
to effectively do collaborative, cross border investigations.

12. Already, JDN cut 48 of its 199 staff because of the uncertainty of the
current situation. Most of the rest of the staff has had their work week shortened to
4 days with a corresponding 20 percent cut in pay. We have cancelled events
including our annual meeting, cut travel for investigative reporting and frozen the
purchase of new equipment. The current situation hampers our journalism, reduces
our impact and creates uncertainty and fear amongst staff.

13. The injuries suffered by JDN are ongoing and will persist unless the
stop-work orders are rescinded.

14. True and correct copies of the stop work orders we received are attached
as Exhibit A.

I declare under penalty of perjury that the foregoing is true and correct.
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/s/
Andrew Sullivan
Publisher, Journalism Defense Network

Executed on February 12, 2025.

